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                      Case 5:16-cr-00009-RH Document 127 Filed 04/22/22 Page 1 of 1

 PROB 22                                                                                                             DOCKET NUMBER (Tran. Co urt)
I(Rev. 2/88)
                                                                                                                              5:16CR9 -001

                                                                                                                     DOCKET NUMBER (Rec. Court)
                             TRANSFER OF JURISDICTION


 NAME AND ADDRESS OF PROBATIONER/SUPERV ISED RELEASEE                          DISTR ICT                             DIVISION


                                                                                             ND/FL                            Panama City

                                                                               NAME OF SENTENCfNG JUDGE
 Migue l Morales Maldonado
                                                                                              Robert L. Hinkle, U.S. District Judge
                                                                               DATES OF PROBAT ION/        FROM                     TO
                                                                               SUP ERV ISED RELEASE

                                                                                                             07/12/2019              07/11/2024
 OFFENSE
 Ct. 2: Possess ion with Intent to Distribute 50 Grams or more of Methamphetamine, its Salts, Isomers, and Salt s of its
 Isomers, and 500 Grams of Methamphetamine or more of a Mixture and Substance Containing a Detectable Am ount of
 Isomers and Aiding and Abetting and Ct. 3: Possession with Intent to Distribute 50 Grams or More of Methamphetam ine,
 its Salts, Isom ers, and Salts of its Isomers



 UN ITE D STATES DIST RI CT COURT FOR TH E                Northern             DISTRICT OF                Florida




           IT IS HEREBY ORDERED that, pursuant to 18 U.S.C . 3605, the jurisdiction of the probationer
     or supervised re leasee named above be transferred with the records of this Court to the United States
     District Court for the             Northern District of Georgia                 upon that Court 's order
     of acceptance of jurisdiction. This Court hereby expressly consents that the period of probation or
     supervised release may be changed ,by the Di strict Court to which this transfer is made without further
     inquiry ofthis court. *

                                   3/23/22                                            s/Robert L. Hinkle
                                         Date                                                        United States District Judge


 *This sentence may be deleted in the discretion of the tran sferring Court.

 PART 2 - ORDER ACCEPT ING JURI SDI CTION


 UNITED STATES DISTRICT COURT FOR THE                     Northern             DISTR ICT OF               Georgia




           IT IS HEREBY ORDERED that jurisdiction over the above-named probationerl~~rnv
     releasee be accepted and assumed by this Court from and after the entry of this order.




           April 22, 2022
                  Effective Date
